        Case 4:14-cr-00151-JLH Document 134 Filed 02/20/15 FILED
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                      IN THE UNITED STATES DISTRICT co~~RsNg 1~~~ 1g~~~~SAS
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                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION          FEB 2 0 2015
UNITED STATES OF AMERICA

        vs.                             NO. 4:14CR000151 JLH

Carl Aderholt                                                                               DEFENDANT


                       WAIVER OF APPEARANCE FOR ARRAIGNMENT
                          AND ENTRY OF PLEA OF NOT GUILTY
               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

        NOW COMES Defendant in the above-referenced case who, along wit~er undersigned attorney,
hereby acknowledges the following:

1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
        information in this case. Defendant understands the nature and substance of the charges contained
        therein, the maximum penalties applicable thereto, and rus/her Constitutional rights, after being
        advised of all of the above by his/her attorney.

2)      Defendant understands~she has the right to appear personally with his/her attorney before a Judge
        for arraignment in open court on this accusation. Defendant further understands that, absent the
        present waiver~/she will be so arraigned in open court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


       Z-1B-1.::>--
        Date

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                                         ORDER OF COURT

         The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
         plea of not guilty is entered for the defendant effective this date.

         The defendant's request to waive appearan eat the arraignment is hereby DENIED.

        cg/Jo /'2..o 1s
         Date



cc:     All Counsel of Record
        U.S. Probation Office
        U.S. Marshals Service
        Presiding Magistrate Judge
